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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                       :
                                                       :
    In re                                              :   Chapter 11
                                                       :
                                                       :
    FTX TRADING LTD., et al.,1                         :   Case No. 22-11068 (JTD)
                                                       :   (Jointly Administered)
                                                       :
                                  Debtors.             :   Hearing Date: Oct. 7, 2024, at 10:00 a.m.
                                                       :   Objections Due: Aug. 16, 2024, at 4:00 p.m.
                                                       :   (extended for U.S. Trustee to Aug. 23 at 4:00
                                                       :   p.m.)
                                                       :
                                                       :   Re: D.I. 22165


                OBJECTION OF THE UNITED STATES TRUSTEE
       TO CONFIRMATION OF FIRST AMENDED JOINT CHAPTER 11 PLAN OF
      REORGANIZATION OF FTX TRADING, LTD. AND ITS DEBTOR AFFILIATES

            Andrew R. Vara, the United States Trustee for Region 3 (the “U.S. Trustee”), through his

undersigned attorneys, objects to confirmation of the First Amended Joint Chapter 11 Plan of

Reorganization of FTX Trading Ltd. and Its Debtor Affiliates [D.I. 22165] (the “Plan”), and in

support of his objection respectfully states:

                                    PRELIMINARY STATEMENT

                   1.     The Court should deny confirmation of the Plan for ten separate and

independent reasons:




1
  The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification numbers are
3288 and 4063, respectively. Due to the large number of debtor entities in these chapter 11 cases, a complete
list of the Debtors and the last four digits of their federal tax identification numbers is not provided herein.
A complete list of such information may be obtained on the website of the Debtors’ proposed claims and
noticing agent at https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent
Fidelity Technologies Ltd is Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua
and Barbuda.
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                -    The Plan grants the Debtors a discharge in contravention of section 1141(d)(3)
                     of title 11, United States Code (the “Bankruptcy Code”).

                -    To the extent that applicable law authorizes exculpation beyond section 1125(e)
                     of the Bankruptcy Code, the Plan exculpates non-estate fiduciaries and provides
                     exculpation for pre-petition and post-effective date acts and omissions in
                     contravention of Third Circuit precedent.

                -    The Plan imposes non-consensual third-party releases on various entities in
                     contravention of applicable law.

                -    The Plan does not “carve out” the Kroll data breach from the Plan’s debtor
                     releases and exculpation.

                -    The Plan, in its entirety, is impermissibly deemed to be a Rule 9019 settlement.

                -    The Plan enjoins all creditors from enforcing their setoff rights and from
                     asserting recoupment as an affirmative defense, in contravention of section
                     553(a) and Third Circuit law.

                -    The Debtors have not shown that reserving the Supplemental Remission Fund
                     for the largest 2% of customers by number is fair to convenience class
                     customers.

                -    The Plan fails to provide for proper payment of required post-effective date
                     quarterly fees.

                -    The Plan Supplement controls to the extent inconsistent with the Plan; however,
                     the Plan Supplement, containing information necessary for a reasonable
                     creditor to vote, was not filed until August 2, 2024, and could be amended up
                     until the Effective Date.

                -    The Plan requires parties in interest to file renewed requests for notice after the
                     Plan’s Effective Date, even if relief sought from the Court affects those parties’
                     rights.

                2.      Unless the above issues are satisfactorily addressed, the Court should deny

confirmation.

                                  JURISDICTION & STANDING

                3.      Under (i) 28 U.S.C. § 1334; (ii) applicable order(s) of the United States

District Court for the District of Delaware issued pursuant to 28 U.S.C. § 157(a); and (iii) 28 U.S.C.


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§ 157(b)(2)(A), this Court has jurisdiction to hear and determine Plan confirmation and this

objection.

               4.      Under 28 U.S.C. § 586, the U.S. Trustee is charged with overseeing the

administration of chapter 11 cases filed in this judicial district. This duty is part of the U.S.

Trustee’s overarching responsibility to enforce the bankruptcy laws as written by Congress and

interpreted by the courts. See Morgenstern v. Revco D.S., Inc. (In re Revco D.S., Inc.), 898 F.2d

498, 500 (6th Cir. 1990) (describing the U.S. Trustee as a “watchdog”).

               5.      Pursuant to 28 U.S.C. § 586(a)(3)(B), the U.S. Trustee has a duty to monitor

and comment on plans and disclosure statements filed in chapter 11 cases.

               6.      Under 11 U.S.C. § 307, the U.S. Trustee has standing to be heard on Plan

confirmation. See United States Trustee v. Columbia Gas Sys., Inc. (In re Columbia Gas Sys.,

Inc.), 33 F.3d 294, 295-96 (3d Cir. 1994) (noting that U.S. Trustee has “public interest standing”

under 11 U.S.C. § 307, which goes beyond mere pecuniary interest).

                                              FACTS

               7.      On November 11 and 14, 2022, the above-captioned debtors (the “Debtors”)

filed chapter 11 petitions in this Court.

               8.      On August 25, 2023, Kroll Restructuring Administration LLC (“Kroll”), the

Debtors’ claims and noticing agent, stated in a filed notice that it had sent an e-mail to over 78,000

claimants notifying them that their personal information had been involved in a “security incident.”

D.I. 2251. Since that time, the Debtors’ professionals have billed millions of dollars of fees to

respond to the data breach. On March 14, 2024, the U.S. Trustee filed a reservation of rights

regarding the professional fees that have been incurred responding to the data breach. D.I. 9317.

Katherine Stadler, the Court-appointed fee examiner in these cases, has concluded that “the


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Debtors’ estates should not bear ultimate responsibility for the fees and expenses associated with

remediating the data breach.” D.I. 9157 at 2-3.

               9.     On December 16, 2023, the Debtors filed the Motion of Debtors for Entry

of an Order (I) Approving the Adequacy of the Disclosure Statement; (II) Approving Solicitation

Packages; (III) Approving the Forms of Ballots; (IV) Establishing Voting, Solicitation, and

Tabulation Procedures; and (V) Establishing Notice and Objection Procedures for the

Confirmation of the Plan [D.I. 4863].

               10.    On May 22, 2024, the Debtors filed the Joint Chapter 11 Plan of

Reorganization of FTX Trading Ltd. and Its Debtor Affiliates [D.I. 15520] and the Disclosure

Statement for Debtors’ Joint Chapter 11 Plan of Reorganization of FTX Trading Ltd. and Its

Affiliated Debtors and Debtors-in-Possession [D.I. 15521] (as amended at D.I. 18976, the

“Disclosure Statement”).

               11.    On May 30, 2024, the U.S. Trustee’s counsel sent Debtors’ counsel

informal comments on the version of the Plan filed at D.I. 15520. The Debtors agreed to revise

the Plan to address some (but not all) of the U.S. Trustee’s comments.

               12.    On June 26, 2024, the Court entered an order approving the Disclosure

Statement and the Debtors’ proposed solicitation procedures. See D.I. 19068. Pursuant to the

solicitation procedures, (a) Plan solicitation was required to commence by July 10; (b) the Plan

Supplement was required to be filed by August 2; and (c) the Plan voting and confirmation

objection deadline was August 16. The Plan Supplement is the “initial compilation of documents

and forms of documents, schedules and exhibits to the Plan . . . and additional documents filed

with the Bankruptcy Court prior to the Effective Date as amendments to the Plan Supplement.”

Plan § 2.1.146.



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                13.    On August 2, 2024, the Debtors filed the plan supplement [D.I. 22163] (the

“Plan Supplement”). Section 13.7 of the Plan incorporates the Plan Supplement “as if set forth in

full in the Plan.”

                                           ARGUMENT

  I.    Plan Proposes to Discharge Debtors in Violation of 11 U.S.C. § 1141(d)(3)

                14.    The Court should deny confirmation because the Plan proposes to grant the

Debtors a discharge in violation of section 1141(d)(3) of the Bankruptcy Code.

                15.    Section 1129(a)(1) of the Bankruptcy Code provides that the Court shall

confirm a plan only if the plan “complies with the applicable provisions of this title.” 11 U.S.C. §

1129(a)(1).

                16.    Section 1141(d)(3) of the Bankruptcy Code provides:

                The confirmation of a plan does not discharge a debtor if—

                      (A) the plan provides for the liquidation of all or substantially
                          all of the property of the estate;
                      (B) the debtor does not engage in business after consummation
                          of the plan; and
                      (C) the debtor would be denied a discharge under section
                          727(a) of this title if the case were a case under chapter 7
                          of this title.

  11 U.S.C. § 1141(d)(3).

                17.      Section 10.2 of the Plan would give the Debtors a discharge:

        Pursuant to and to the fullest extent permitted by the Bankruptcy Code, except as
        otherwise specifically provided in the Plan or the Confirmation Order, the treatment
        of Claims and Interests under the Plan shall be in full and final satisfaction,
        settlement, release, discharge and termination, as of the Effective Date, of all
        Claims of any nature whatsoever, whether known or unknown, against, and
        Interests in, the Debtors, any property of the Estates, the Plan Administrator or any
        property of the Wind Down Entities, including all Claims of the kind specified in
        section 502(g), 502(h) or 502(i) of the Bankruptcy Code, in each case whether or
        not: (a) a Proof of Claim or Proof of Interest based upon such Claim, debt, right,
        liability, obligation or Interest is filed or deemed filed pursuant to section 501 of

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     the Bankruptcy Code; (b) a Claim or Interest based upon such Claim, debt, right,
     liability, obligation or Interest is Allowed pursuant to section 502 of the Bankruptcy
     Code; or (c) the Holder of such a Claim, liability, obligation or Interest has accepted
     the Plan. Except as otherwise provided herein, any default by the Debtors or their
     Affiliates with respect to any Claim that existed immediately prior to or on account
     of the filing of these Chapter 11 Cases shall be deemed cured on the Effective Date.
     For the avoidance of doubt, any Claims arising pursuant to section 502(h) of the
     Bankruptcy Code following the conclusion of any adversary proceeding shall not
     be discharged on or after the Effective Date.

              18.        In addition, section 10.9 of the Plan would establish an injunction to

enforce the discharge.

              19.        However, the Debtors are not eligible for a discharge because the elements

of section 1141(d)(3) are satisfied.

              20.        First, the Plan provides for the liquidation of all or substantially all of the

Debtors’ property. The Plan defines “Plan Assets” to mean “all Causes of Action and other

property of each Estate and any property retained by any Debtor under the Plan.” Plan § 2.1.145.

“The Wind Down Entities shall manage and hold Plan Assets for sale; sell Plan Assets;

administer, and close as necessary, the Chapter 11 Cases; administer, reconcile, resolve and settle

claims; and liquidate the Debtors and their non-Debtor subsidiaries pursuant to the terms of the

Plan Supplement.” Plan § 5.8. Plan distributions “shall be funded from (a) Cash on hand, (b)

Available NFTs, (c) Wind Down Cash Proceeds, and (d) any other Plan Assets, except as

expressly set forth herein.” Id. § 5.9. The Wind Down Board will be responsible for overseeing

the “liquidation and Distribution of the Plan Assets.” Id. § 5.11. The Debtors expect to have

already liquidated the “overwhelming majority” of their assets by the Effective Date. Disclosure

Statement § 3.E. Under the Plan, substantially all of the Debtors’ assets will be liquidated.

              21.        Second, the Debtors will not engage in business after consummation of

the Plan.    “Business” means a “commercial enterprise carried on for profit; a particular

occupation or employment habitually engaged in for livelihood or gain.”                 BLACK’S LAW
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    DICTIONARY (8th ed. 2004) at 211. An entity does not engage in business when its assets are

    liquidated and the entity is dissolved. See Um v. Spokane Rock I, LLC, 904 F.3d 815, 819 (9th

    Cir. 2018).

                  22.       The Debtors will not engage in business because the Plan Supplement

    establishes a liquidating trust to succeed the Consolidated Debtors and prohibits the trust from

    engaging in business. The Plan Supplement establishes the FTX Recovery Trust “for the purpose

    of liquidating and distributing the FTX Recovery Trust Assets in accordance with the Plan on

    behalf, and for the benefit of the FTX Recovery Trust Beneficiaries and pursuant to Treasury

    Regulations Section 301.7701-4(d), with no objective to continue or engage in the conduct of a

    trade or business, except to the extent reasonably necessary to, and consistent with, its liquidating

    purpose hereunder.” Plan Supplement Ex. 2 § 2.2(a).2 The FTX Recovery Trust “will be the

    representative of the Estates of the Consolidated Debtors as that term is used in section

    1123(b)(3)(B) of the Bankruptcy Code[.]” Id. §§ 2.3(b). The Available Assets “shall vest in the

    FTX Recovery Trust and the FTX Recovery Trust shall succeed to all of the Consolidated

    Debtors’ right, title and interest in the Available Assets, and the Consolidated Debtors will have

    no further rights or interest in or with respect to the Available Assets[.]” Id. § 2.6. The FTX


2
  “FTX Recovery Trust Assets” is defined to include “the Available Assets transferred to the FTX Recovery
Trust on or after the Effective Date[.]” D.I. 22163 Ex. 2 § 1.2(cc). “Available Assets” is defined to mean
“all Causes of Action and other property (including equity or other securities held in any non-Debtor
Entities) of each Consolidated Debtor and any property retained by any Consolidated Debtor under the
Plan.” Id. § 1.2(e). Under Treas. Reg. § 301.7701-4(d),

                  [a]n organization will be considered a liquidating trust if it is organized for
                  the primary purpose of liquidating and distributing the assets transferred
                  to it, and if its activities are all reasonably necessary to, and consistent
                  with, the accomplishment of that purpose. A liquidating trust is treated as
                  a trust for purposes of the Internal Revenue Code because it is formed with
                  the objective of liquidating particular assets and not as an organization
                  having as its purpose the carrying on of a profit-making business which
                  normally would be conducted through business organizations classified as
                  corporations or partnerships.
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    Recovery Trust “shall wind down the affairs of, and dissolve the Consolidated Debtors and their

    subsidiaries[.]” Id. § 2.2(c). “The Board, the FTX Recovery Trust Management and the FTX

    Recovery Trust Agents shall hold the FTX Recovery Trust out as a trust in the process of

    liquidation, whose activities are limited to the liquidation of the FTX Recovery Trust Assets on

    behalf, and for the benefit, of the FTX Recovery Trust Beneficiaries and the other purposes set

    forth in this Agreement. Without limiting the foregoing, the FTX Recovery Trust shall not hold

    itself out as an investment company, and no part of the FTX Recovery Trust Assets shall be

    caused by the Board to be used or disposed of in furtherance of any trade or business.” Id. §

    8.1(a) (emphasis added).

                     23.    The Debtors will not be engaging in business because (i) they will have

    already liquidated the “overwhelming majority” of their assets by the Plan’s proposed “Effective

    Date,”3 (ii) they will not relaunch their exchanges,4 and (iii) their assets will vest a liquidating

    trust that is prohibited from using those assets to engage in a trade or business.5 Fundamentally,

    the Plan is about monetizing remaining assets -- not engaging in business. Section 1141(d)(3)(B)

    is satisfied.

                    24.     Third, the Debtors, as corporations, would not be eligible for a discharge

if they were chapter 7 debtors pursuant to section 727(a)(1) of the Bankruptcy Code, which

provides that the Court shall grant a debtor a discharge unless the debtor is not an individual. See,

e.g., In re Flintkote Co., 486 B.R. 99, 129 n.80 (Bankr. D. Del. 2012) (“Section 1141(d)(3)(C) is

always satisfied for corporate debtors, as they cannot receive discharges in chapter 7.”).


3
    Disclosure Statement § 3.E.
4
 Disclosure Statement § 3.D (Plan “contemplates cash distributions only, rather than the relaunch of the
FTX.com Exchange[.]”).
5
    Plan Supplement Ex. 2 §§ 2.2, 2.3, 2.5, 2.6 & 8.1.
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                 25.     For these reasons, the Debtors are not eligible for a discharge under section

1141(d)(3) of the Bankruptcy Code. Because Plan §§ 10.2 and 10.9 would give the Debtors a

discharge regardless, the Plan violates section 1141(d)(3) and, by extension, does not satisfy

section 1129(a)(1). Unless the Plan provides that the Debtors shall not receive a discharge and

removes any discharge injunction, the Court should deny confirmation.

 II.     Plan’s Exculpation Contravenes Third Circuit Precedent

                 26.     The Court should deny confirmation because, to the extent that applicable

law authorizes exculpation beyond 11 U.S.C. § 1125(e), the Plan’s exculpation provisions

contravene Third Circuit precedent. See In re PWS Holding Corp., 228 F.3d 224, 245-47 (3d Cir.

2000).

                 27.     Section 2.1.86 of the Plan defines “Exculpated Parties” to mean:

         (a) the Debtors; (b) the Official Committee and its current and former members,
         solely in their capacities as members of the Committee; (c) the Fee Examiner; (d)
         to the extent determined to be acting as a fiduciary for the benefit of a Debtor, its
         estate, or its creditors, the Bahamas JOLs and FTX DM; (e) to the extent determined
         to be acting as a fiduciary for the benefit of a Debtor, its estate, or its creditors, the
         Ad Hoc Committee and the executive committee of the Ad Hoc Committee (as such
         executive committee is constituted from time to time); and (f) with respect to each
         Person or Entity named in (a) through (e), any Person or Entity to the extent acting
         as a member, shareholder, director, officer, employee, attorney (including solicitors
         or barristers acting for the benefit of such Person or Entity), financial advisor,
         restructuring advisor, investment banker, accountant and other professional or
         representative of such Person or Entity, in each case in (a) through (f), to the extent
         such Person or Entity is or was acting in such capacity. Notwithstanding anything
         to the contrary in the Plan or the Plan Supplement, no Excluded Party shall be an
         Exculpated Party.

                 28.     Section 10.8 of the Plan would exculpate the Exculpated Parties for “(d) any

. . . transaction, agreement, event, or other occurrence related to these Chapter 11 Cases taking

place on or before the Effective Date,” excluding acts or omissions constituting gross negligence,

willful misconduct, fraud, or a criminal act.



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               29.     In addition, the Plan Supplement would provide prospective exculpation

post-Effective Date. Section 8 of the Plan Administration Agreement would give exculpation to

“the Debtors, the Wind Down Entities, and each of their respective current and former members,

directors, officers, Affiliates, parents, subsidiaries, members, managers, predecessors, successors,

executors, assigns, participants, partners, employees, independent contractors, advisors,

consultants, agents, attorneys, financial advisors, restructuring advisors, investment bankers,

accountants, experts and other professionals or representatives, in each case solely when acting in

any such capacities” for effectuating the Plan and for “any act taken, or omission made, in

connection with the affairs of the Debtors or the Wind Down Entities” except acts and omissions

constituting fraud, gross negligence, or willful misconduct. Plan Supplement Ex. 1 § 8. Section

11.1 of the Liquidating Trust Agreement would give the Delaware Trustee, the FTX Recovery

Trustees, the Plan Administrator, the FTX Recovery Trust Management, and members of the

Advisory Committee and their respective principals, advisors, and professionals exculpation for

their post-effective date acts and omissions. Id. Ex. 2 § 11.1(a). Further, “in no event will any

such party be liable for punitive, exemplary, consequential or special damages under any

circumstances.” Id. The Delaware Trustee would receive similar immunity from punitive,

exemplary, consequential, special or other damages under any circumstances. Id. § 9.2(ix).

               30.     The Third Circuit has held that the Code confers “a limited grant of

immunity” on “committee members and the entities that provided services to the Committee”

“within the scope of their duties.” PWS Holding, 228 F.3d at 246; accord In re Washington Mut.,

Inc., 442 B.R. 314, 350-51 (Bankr. D. Del. 2011) (directing that exculpation “must be limited to

the fiduciaries who have served during the chapter 11 proceeding: estate professionals, the

Committees and their members, and the Debtors’ directors and officers”); In re Tribune Co., 464

B.R. 126, 189 (Bankr. D. Del. 2011) (same); In re PTL Holdings LLC, 2011 WL 5509031 at *11-
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12 (Bankr. D. Del. 2011) (BLS) (holding exculpation “must be reeled in to include only those

parties who have acted as estate fiduciaries and their professionals”); In re Indianapolis Downs,

LLC, 486 B.R. 286, 306 (Bankr. D. Del. 2013) (holding exculpation “limited so as to apply only

to estate fiduciaries” was consistent with applicable law).

               31.     Case law also counsels that exculpation must be limited to post-petition,

pre-Effective Date acts and omissions. See In re United Artists Theatre Co. v. Walton, 315 F.3d

217, 227 n.10 (observing that PWS Holding did not “cover more than immunity from liability

under § 1103(c).”); In re PWS Holding Corp., 228 F.3d 224, 245-46 (3d. Cir. 2000) (exculpation

clause did not violate section 524(e) of the Bankruptcy Code because it did not “affect[] the

liability of the members of the Committee and professionals who provided services to the Debtors

to third parties.”); In re Coram Healthcare Corp., 315 B.R. 321, 337 (Bankr. D. Del. 2004)

(releases of chapter 11 trustee, equity committee and their professionals “are not permissible

except to the extent they are limited to post-petition activity” and exclude gross negligence and

willful misconduct); In re Mallinckrodt PLC, 639 B.R. 837, 882-83 (Bankr. D. Del. 2022) (holding

exculpation was “temporally overbroad in that it improperly sweeps in prepetition conduct. . . .

[Exculpation] only extends to conduct that occurs between the Petition Date and the effective

date.”).

               32.     The exculpation provisions at issue are impermissibly broad in five ways.

First, the definition of “Exculpated Parties” includes entities who are not estate fiduciaries. For

example, the ad hoc committee of non-U.S. customers (and various related entities) is being

exculpated, even though the ad hoc committee “is not a fiduciary committee.” Disclosure

Statement § 3.C.4. Entities who are not estate fiduciaries are not eligible to receive exculpation.

               33.     Second, the exculpation covers “the operation of the Debtors’ businesses

during the pendency of these Chapter 11 Cases.” Plan § 10.8. This specific language does not
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appear in the provision which the Third Circuit examined in PWS Holding, which was centered on

the limited immunity afforded by section 1103(c) of the Bankruptcy Code to the Committee and

its professionals – entities which do not operate the Debtors’ businesses. See PWS Holding, 228

F.3d at 246-47. 28 U.S.C. § 959 makes debtors in possession and trustees subject to suit, without

leave of court, for “acts or transactions in carrying on business connected with such property.”

The “operation of the Debtors’ businesses” language runs counter to 28 U.S.C. § 959’s purpose of

subjecting the Debtors to suit for their post-petition business conduct and, by extension, having

applicable federal and state law govern such conduct. Additionally, it is unclear whether all parties

potentially affected by the Debtors’ post-petition acts or transactions in carrying on business

received notice of the Plan. If notice of the Plan was not given to all parties potentially affected,

the exculpation clause has the same effect as an impermissible, non-consensual, third-party release

under Purdue; the provision limits the DIP’s liability for a range of business-related acts or

transactions. For example, the Exculpated Parties would be shielded from a post-petition breach

of contract action under Plan § 10.8. Similarly, Exculpated Parties would be shielded from post-

petition personal injury claims sounding in simple negligence which arose at retail locations.

               34.     Third, the Plan’s exculpation extends to pre-petition acts and omissions.

Plan § 10.8 (exculpating the Exculpated Parties for “(d) any . . . transaction, agreement, event, or

other occurrence related to these Chapter 11 Cases taking place on or before the Effective Date,”

subject to required exceptions). Exculpation must be limited to post-petition acts and omissions.

               35.     Fourth, the Plan Supplement is prospectively exculpating various entities

for post-Effective Date acts and omissions. Plan Supplement Ex. 1 § 8 and Ex. 2 § 11.1(a).

               36.     Fifth, the Delaware Trustee, the FTX Recovery Trustees, the Plan

Administrator, the FTX Recovery Trust Management, the members of the Advisory Committee,

and their principals and advisors are receiving immunity from “punitive, exemplary, consequential
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or special damages under any circumstances.” Plan Supplement Ex. 2 §§ 9.2(ix) & 11.1(a).

Pragmatically, such immunity would negate the exceptions for gross negligence, willful

misconduct, and fraud. Further, such immunity would far exceed the protections that estate

professionals whose employment and compensation are subject to Court approval and oversight

under Sections 327, 328, 330, and 1103 and Rule 2014 receive during the case. See In re Dailey

Int’l, Inc., 1999 WL 35140013 at *3 (Bankr. D. Del. July 1, 1999) (Walsh, J.) (provisions that

included waiver of liability for consequential, incidental, indirect, punitive, or special damages

were “not appropriate terms and conditions for the retention of professionals in bankruptcy

pursuant to 11 U.S.C. §§ 327 and 328.”); In re United Cos. Fin. Corp., 241 B.R. 521, 524 (Bankr.

D. Del. 1999) (Walrath, J.) (“We wholeheartedly agree with our colleague’s reasoning and

conclusions in the Dailey opinion.”). There is no reason to give prospective immunity to post-

effective date professionals and others who will be subject to little, if any, Court oversight.

                37.    Finally, the definition of “Exculpated Parties” should clarify that members

of the official committee are receiving exculpation only for the time of their tenure on the

committee and only with respect to acts taken as a committee member. Six of the nine original

members of the official creditors’ committee have resigned. D.I. 231 & 19921. Committee

members who resigned should not be exculpated for any acts or omissions that occurred after their

resignations.

                38.    For the reasons stated above, the Court should deny confirmation.

III.   The Plan Should Not Release or Exculpate Claims Relating to the Kroll Data Breach

                39.    Even if this Court were to confirm the Plan with the objectionable release

and exculpation provisions, this Court should deny confirmation unless claims relating to the Kroll

data breach are specifically excluded from them.



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                40.    Estate professionals have sought allowance of millions of dollars in

compensation for responding to the Kroll data breach, described at D.I. 2251. The Debtors’ estates

should not bear that cost. The fee examiner shares this view. See D.I. 9157 at 2-3. The Plan

should be revised to specify that nothing in the Plan is releasing any claims or causes of action

relating to the Kroll data breach, and nothing in the Plan shall constitute the allowance of, nor

prejudice the ability of parties in interest to object to, any professional fees relating to the data

breach. Further, any resolution of claims between the Debtors and Kroll should be subject to

further notice and a hearing before this Court, as any potential claims relate to Kroll’s service as

claims agent. Unless the Debtors agree to make these clarifications, the Court should deny

confirmation.

IV.    Plan Would Impose Nonconsensual Third-Party Releases on Various Entities

                41.    The Court should deny confirmation because the Plan would impose

nonconsensual third-party releases on various entities.

                42.    Plan § 2.1.168 defines “Releasing Parties” to include: “ . . . (c) the Holders

of all Claims who vote to accept the Plan and do not opt out of granting the releases set forth

herein; (d) the Holders of all Claims that are Unimpaired under the Plan; (e) the Holders of all

Claims whose vote to accept or reject the Plan is solicited but who (i) abstain from voting on the

Plan and (ii) do not opt out of granting the releases set forth herein; (f) the Holders of all Claims

or Interests who vote to reject the Plan but do not opt out of granting the releases set forth herein;

. . . and (h) all other Holders of Claims or Interests to the maximum extent permitted by law.”

                43.    Plan §§ 10.5 and 10.9 would impose nonconsensual third-party releases and

an accompanying injunction on the Releasing Parties.

                44.    The Bankruptcy Code “does not authorize a release and injunction that, as

part of a plan of reorganization under Chapter 11, effectively seeks to discharge claims against a
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nondebtor without the consent of affected claimants.” Harrington v. Purdue Pharma L.P., 144 S.

Ct. 2071, 2088 (2024).

                45.      In Purdue, the U.S. Supreme Court did not “express a view on what

qualifies as a consensual release.” Id. Although opt-out mechanisms were approved in some cases

before Purdue,6 the prohibition on nonconsensual third-party releases in Purdue requires this Court

to evaluate whether this Plan’s releases are consensual under contract law.7

                46.      Contract principles govern whether a release is consensual. See In re

SunEdison, Inc., 576 B.R. 453, 458 (Bankr. S.D.N.Y. 2017). Under contract law, 8 silence does

not equal consent except under limited circumstances not applicable here. See, e.g., Hornberger




6
 See, e.g., In re Indianapolis Downs, LLC, 486 B.R. at 304-05 (allowing third-party releases to be imposed
on unimpaired parties and any voting party that did not check opt-out box on ballot); In re Spansion, Inc.,
426 B.R. 114, 144 (Bankr. D. Del. 2010) (holding that affirmative consent was not required, but only as to
releases being given by unimpaired classes); In re Mallinckrodt PLC, 639 B.R. at 873, 881 (allowing third-
party releases to be imposed on mass tort claimants without the opportunity to opt out, as well as on certain
other classes of creditors and equity holders who were provided the ability to opt out, and holding that
imposing such releases was permissible under Gillman v. Continental Airlines (In re Continental Airlines),
203 F.3d 203 (3d Cir. 2000) because of mass tort posture of case); In re Boy Scouts of America and
Delaware BSA, LLC, 642 B.R. 504, 674-77 (Bankr. D. Del. 2022) (approving opt-out process for third-
party releases in mass tort case but noting definition of releasing parties did not include any “claimant who
abstains from voting”) (emphasis added).
7
 At the confirmation hearing in Chassix Holdings Inc., Judge Wiles explained why courts should be wary
of deeming consent based on a party’s inaction:

                [I]t’s a legal fiction. It’s not consent in any real sense. It’s consent by
                inaction, knowing perfectly well, that the legal fiction that people have
                read it and decided, well, I’m just going to abide by this consequence is
                nonsense. People throw these things away. They pay no attention
                whatsoever, and so the question is, what business do the Courts have
                basically helping to expand the number of parties who are deemed to
                consent to these releases.

In re Chassix Holdings, Inc., Case No. 15-10578 (MEW), ECF No. 654 (Bankr. S.D.N.Y. Jul. 21, 2015),
Tr. 158:1-9.
8
  Plan § 2.3 has a Delaware choice-of-law clause. However, this clause is not controlling for claims or
settlements between non-debtors.
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Mgmt. Co. v. Haws & Tingle Gen. Contractors, Inc., 768 A.2d 983, 991 (Del. Super. Ct. 2000)

(quoting RESTATEMENT (SECOND) OF CONTRACTS § 69 (1981)).

                47.     As a general rule of contract construction:

                Acceptance by silence is exceptional. Ordinarily an offeror does not
                have power to cause the silence of the offeree to operate as acceptance.
                See Comment b to § 53. The usual requirement of notification is stated
                in § 54 on acceptance by performance and § 56 on acceptance by
                promise. The mere receipt of an unsolicited offer does not impair the
                offeree’s freedom of action or inaction or impose on him any duty to
                speak. The exceptional cases where silence is acceptance fall into two
                main classes: those where the offeree silently takes offered benefits,
                and those where one party relies on the other party’s manifestation of
                intention that silence may operate as acceptance. Even in those cases
                the contract may be unenforceable under the Statute of Frauds. See
                Chapter 5.

RESTATEMENT (SECOND) OF CONTRACTS § 69 (1981).

                48.     Silence and inaction, however, will generally not be deemed assent under

the “mirror image” rule, which requires the acceptance to be identical to the offer. See Urban

Green Techs., LLC v. Sustainable Strategies 2050 LLC, No. N136-12-115, 2017 WL 527565, at

*3 (Del. Super. Ct. Feb. 8, 2017); see also Patterson v. Mahwah Bergen Ret. Grp., Inc., 636 B.R.

641, 686 (E.D. Va. 2022) (contract law does not support consent by failure to opt out). “[E]ven

though the offer states that silence will be taken as consent, silence on the part of the offeree cannot

turn the offer into an agreement, as the offerer cannot prescribe conditions so as to turn silence

into acceptance.” See Reichert v. Rapid Invs., Inc., 56 F.4th 1220, 1227-28 (9th Cir. 2022) (citations

omitted; quoting RESTATEMENT (SECOND) OF CONTRACTS § 69, cmt. c (1981): “The mere fact that

an offeror states that silence will constitute acceptance does not deprive the offeree of his privilege

to remain silent without accepting.”).

                49.     Merely voting on a plan without checking an opt-out box does not constitute

the affirmative consent necessary to reflect acceptance of an offer to enter a contract to release

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claims against non-debtors. See RESTATEMENT (SECOND) OF CONTRACTS § 69 (1981). Voting on

a chapter 11 plan is governed by the Bankruptcy Code, and voter support only reflects approval of

the plan’s treatment of the voters’ claims against the debtor. Those voting on the chapter 11 plan

have not “manifest[ed] [an] intention that silence may operate as acceptance” of an offer to release

claims against non-debtors. Id. Nor are they “silently tak[ing] offered benefits” from the released

non-debtors, such that consent may be inferred. Id. The only benefits received are through

distributions from the debtor’s chapter 11 plan — there are no benefits provided from the released

non-debtor to the releasing claimant in exchange for the release. Further, because the plan’s

distributions are not contingent on agreeing to the non-debtor release, one cannot infer consent

from the acceptance of those distributions.

               50.     Here, the Plan forces third-party releases on various parties without their

affirmative consent. Such releases cannot be approved under Purdue.

               51.     First, the Plan forces third-party releases on holders of claims in unimpaired

classes. See Plan § 2.1.168(d). Creditors in those classes are not entitled to vote on the Plan;

instead, they are simply receiving a distribution on their claims against the Debtors. The notice

sent to holders in the unimpaired classes (Class 1 – Priority Tax Claims; Class 2 – Other Priority

Claims; Class 3B – Other Secured Claims; Class 4 – Separate Subsidiary Claims; Class 5C – NFT

Customer Entitlement Claims; and Class 8A – Propco Operating Expense Claims) does not solicit

their affirmative consent to the third-party releases; rather, they are deemed to have consented to

the releases if they do not object. D.I. 19068 (Solicitation Procedures Order) Ex. 2A (Unimpaired

Notice). Accordingly, unimpaired claimants have done nothing to manifest their assent to release

their claims against third parties. In In re Chassix Holdings, 533 B.R. 64 (Bankr. S.D.N.Y. 2015),

the United States Bankruptcy Court for the Southern District of New York observed:



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               Normally a creditor is ‘unimpaired’ if a plan ‘leaves unaltered the
               legal, equitable, and contractual rights to which such claim or
               interest entitles the holder of such claim or interest.’ If a creditor
               must release a claim against a third party under a plan (as a condition
               to whatever payment or other treatment the plan provides for the
               creditor’s claim against the debtor), it is difficult to understand how
               such a creditor could properly be considered to be ‘unimpaired’ by
               the Plan in the first place. . . . There are only two possibilities as to
               creditors whose claims are paid in full: either the releases only relate
               to the claims that the Debtors themselves are satisfying (in which
               case the releases serve no purpose), or the releases cover claims that
               the creditors might be able to pursue notwithstanding the
               satisfaction of their claims against the Debtors—in which case there
               is no good basis on which to say that the Debtors’ satisfaction of the
               Debtors’ own liabilities should constitute a deemed ‘consent’ by the
               creditors to the release of their claims against other parties. For
               these reasons, the Court concludes that unimpaired creditors should
               not be deemed to have consented to the third party releases set forth
               in the Plan.

Id. at 81-82 (citation omitted). The only way for creditors in unimpaired classes to consent to the

Plan’s third-party releases is by opting in to them.

               52.     Second, the Plan forces third-party releases on holders of claims who are

entitled to vote but do not return a ballot and do not opt out. Plan § 2.1.168(e). Creditors who

take no action have done nothing to manifest their assent to release their claims against third

parties. See Patterson, 636 B.R. at 688 (concluding that “the Bankruptcy Court erred both

factually and legally in finding the Third-Party Releases to be consensual. Failure to opt out,

without more, cannot form the basis of consent to the release of a claim.”); Emerge Energy Servs.

LP, Case No. 19-11563, 2019 Bankr. LEXIS 3717, *52 (Bankr. D. Del. Dec. 5, 2019) (consent to

a third-party release “cannot be inferred by the failure of a creditor or equity holder to return a

ballot or Opt-Out Form.”); In re SunEdison, Inc., 576 B.R. 453 (Bankr. S.D.N.Y. 2017) (under

principles of New York contract law, creditor could not be deemed to consent to third-party

releases merely by failing to object to plan, even when disclosure statement made it clear that such

consequence would result); Chassix, 533 B.R. at 79-80 (limiting third-party releases to those who
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voted to accept plan, or affirmatively elected to provide releases); Washington Mut., 442 B.R. at

355 (holding that an “opt out mechanism is not sufficient to support the third party releases . . .

particularly with respect to parties who do not return a ballot (or are not entitled to vote in the first

place).”); Coram, 315 B.R. at 335 (holding that the “Trustee (and the Court) do not have the power

to grant a release of the Noteholders on behalf of third parties,” and that such release must be based

on consent of releasing party).

                53.     Conspicuous warnings in the disclosure statement, ballots, or an opt-out

form that silence or inaction will constitute consent to a release are not enough to transform a

party’s failure to opt out into consent. See SunEdison, 576 B.R. at 458–61. In SunEdison, the

debtors argued that the warning in the disclosure statement and on the ballots regarding the

potential effect of silence gave rise to a duty to speak, and the non-voting creditors’ failure to

object to the plan or to reject the plan should be deemed their consent to the release. See id. at

460–61. The court rejected this argument because the debtors failed to show that the nonvoting

creditors’ silence was misleading or that the nonvoting creditors’ silence signified their intention

to consent to the release (finding that silence could easily be attributable to other causes). See id.

The SunEdison debtors did not contend that an ongoing course of conduct between themselves and

the nonvoting creditors gave rise to a duty to speak. See id. at 460.

                54.     While some courts have suggested that voting for a plan is consent if there

is an option to opt out, it is not. As an initial matter, voting for a plan does not reflect the

unambiguous assent that should be required to find consent to a release. See, e.g., In re Congoleum

Corp., 362 B.R. 167, 194 (Bankr. D.N.J. 2007) (“[A] consensual release cannot be based solely

on a vote in favor of a plan.”); In re Arrowmill Dev. Corp., 211 B.R. 497, 507 (Bankr. D.N.J. 1997)

(holding that, because consensual releases are premised on the party’s agreement to the release, “it



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is not enough for a creditor to abstain from voting for a plan, or even to simply vote ‘yes’ as to a

plan”).

               55.     First, imputing consent from a vote in favor of a plan assumes that the

creditor understands the plan’s non-debtor release, which is a questionable assumption for the

reasons discussed herein. Thus, voting for a plan does not necessarily reflect actual and knowing

consent, particularly in the context of “an immensely complicated plan” where “it would be

difficult for any layperson to comprehend all of its details.” In re Congoleum Corp., 362 B.R. at

194.

               56.     Second, a plan is presented as a package deal—a person votes yes or no on

the entire plan, not particular aspects of it—and a person should not be compelled to accept a non-

debtor release as a condition of receiving the benefits of a plan. That is not true consent. In

addition, the Bankruptcy Code guarantees that a creditor may not be required to accept in a chapter

11 plan less than it would receive in a chapter 7 liquidation. 11 U.S.C. § 1129(a)(7)(A). But a

chapter 7 liquidation could not require a release of non-debtors as a condition of receiving a

distribution (because it does not involve a plan). Requiring a non-debtor release as a condition of

receiving a distribution under a chapter 11 plan, absent the individual creditor’s consent, is thus

inconsistent with Code section 1129(a)(7)(A).

               57.     As to the Debtors’ proposal that those who vote to reject must also check

an opt-out box to avoid being deemed to consent to give third-party releases, the United States

Bankruptcy Court for the Southern District of New York made the following observation in

Chassix:

               If (as prior cases have held) a creditor who votes in favor of a plan
               have implicitly endorsed and ‘consented’ to third party releases that
               are contained in that plan, then by that same logic a creditor who
               votes to reject a plan should also be presumed to have rejected the
               proposed third-party releases that are set forth in the plan. The
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                additional ‘opt out’ requirement, in the context of this case, would
                have been little more than a Court-endorsed trap for the careless or
                inattentive creditor.

Chassix, 533 B.R. at 79 (emphasis added).

                58.     The foregoing principles are especially germane in these cases given the

magnitude of the creditor body: the Debtors had over 11,000,000 customer accounts as of the

Petition Date. Disclosure Statement § 3.C.9. Further, a significant portion of the Debtors’

customers are in foreign countries and may not read and write English as their first language.

Creditors whose vote is solicited but take no action in response have not consented to the Plan’s

third-party releases. The only way for such creditors to consent to the third-party releases is by

opting into them.

                59.     Third, the Plan forces third-party releases on holders of claims who vote to

accept or reject the Plan and do not opt out. Plan § 2.1.168(c) & (f). For the reasons stated above,

the U.S. Trustee submits that affirmative consent cannot be shown merely through a failure to opt

out. Nor can consent be shown merely by voting in favor of the Plan. 9 As this Court observed in

In re TPC Grp., Inc. et al., Case No. 22-10493 (CTG) (Sept. 22, 2022 Hrg. Tr. Pgs. 25-26):

                So to my mind, voting yes or no is an expression of the creditors’
                acceptance or rejection of the treatment of their claim under the plan.
                And that’s all. And so I don’t think it is necessarily tied to whether
                I agree to release my claims against a non-Debtor or not. I
                understand there are cases that say acceptance means accepting
                everything, and I -- I understand that as a sort of a shorthand …. And
                I just think paradigmatically, under the Bankruptcy Code, what it
                contemplates is creditors voting to agree or disagree to the terms of

9
  But see SunEdison, 576 B.R. at 458 (“Courts generally agree that an affirmative vote to accept a plan that
contains a third-party release constitutes an express consent to the release.”); Coram, 315 B.R. at 336 (“a
Plan is a contract that may bind those who vote in favor of it. . . . Therefore, to the extent creditors or
shareholders voted in favor of the Trustee’s Plan, which provides for the release of claims they may have
against the Noteholders, they are bound by that.”); In re Exide Technologies, 303 B.R. 48, 74 (Bankr. D.
Del. 2003) (approving releases which were binding only on those creditors and equity holders who accepted
terms of plan); In re Zenith Electronics Corp., 241 B.R. 92, 111 (Bankr. D. Del. 1999) (permitting third-
party releases by creditors who vote in favor of plan).
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               a plan that treats their claims a particular way. And this is their
               claims against the Debtor.

               60.      Fourth, the Plan would impose third-party releases on “all other Holders of

Claims or Interests to the maximum extent permitted by law.” Plan § 2.1.168(h). In other words,

claimants, creditors and interest holders who did not express affirmative consent by opting into

the third-party releases would give them, regardless of their choices, “to the maximum extent

permitted by law.” After Purdue, “to the maximum extent permitted by law” is a nullity. The law

does not permit such nonconsensual releases. The Court should strike part (h) from the definition

of Releasing Parties.

               61.      Finally, this Court may not approve the injunction enforcing the “opt out”

release by parties in interest against non-debtors because Purdue clearly stands for the proposition

that non-consensual third-party releases are not permitted by the Bankruptcy Code. See Purdue

Pharma, 144 S.Ct. at 2088. As the Purdue Court noted, the Bankruptcy Code allows courts to

issue an injunction in support of a non-consensual, third-party release in exactly one context:

asbestos-related bankruptcies, and this case is not asbestos-related. See Purdue Pharma, 144 S.Ct.

at 2085 (citing 11 U.S.C. § 524(e)). Additionally, if the plan contained a consensual third-party

release, there would be no need for an injunction to support same, as an injunction in support of a

purely consensual release is, by definition, not necessary to prevent “immediate and irreparable

harm” to either the estate or the released parties. The consensual releases may serve as an

affirmative defense in any ensuing, post-effective date litigation between the third party releasees

and releasors, and there is no reason for this Court to be involved with the post-effective date

enforcement of those releases.




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               62.     The Plan does not satisfy section 1129(a)(1) because it would impose third-

party releases and an injunction on various entities without their consent. The Court should deny

confirmation for the reasons stated above.

 V.    Plan Impermissibly Deemed to Be a Rule 9019 Settlement

               63.     The Court should deny confirmation because the Plan is impermissibly

deemed to be a settlement under Federal Rule of Bankruptcy Procedure 9019.

               64.     Section 5.2 of the Plan provides in relevant part:

       In consideration of the classification, treatment, Distributions, releases and other
       benefits provided by the Debtors to their stakeholders under the Plan, on the
       Effective Date, the provisions of the Plan shall constitute a good-faith compromise,
       settlement and resolution (the “Global Settlement”) of all Claims, Interests and
       Causes of Action against, by or among the Debtors, including without limitation:
       (a) the actual or purported fraud, unjust enrichment, misappropriation, conversion
       and misconduct of former Insiders; (b) any basis for the contractual, structural and
       legal subordination rights of any Claim or Interest or any Distribution to be made
       on account of any Claim or Interest; (c) the purported commingling and misuse of
       customer deposits and corporate funds; (d) the tracing of assets of individual
       Debtors to particular sources of funding; (e) transactions among the Debtors prior
       to and on the Effective Date; (f) the allocation of corporate and administrative
       expenses across each of the Debtors; (g) the effects and consequences of the
       Debtors’ Terms of Service and whether the assets held by the FTX.com Exchange
       and the FTX.US Exchange are property of the Debtors’ Estates; (h) the Debtors’
       disregard for corporate separateness before the Petition Date; (i) any causes of
       action by a Debtor against other Debtors or the Insiders of other Debtors; (j) the
       purported absence of adequate corporate governance, cash management,
       accounting and cybersecurity controls by the Debtors and their Affiliates prior to
       the commencement of the Chapter 11 Cases; and (k) all Causes of Action relating
       to any of the foregoing.

               65.     Section 1123(b)(3)(A) of the Bankruptcy Code allows a plan proponent to

“provide for [] the settlement or adjustment of any claim or interest belonging to the debtor or to

the estate.” 11 U.S.C. § 1123(b)(3)(A) (emphasis added).

               66.     Section 1123(b)(3) only allows a debtor to settle claims it has against others;

it does not allow a debtor to settle claims that creditors and interest holders may have against it,

which is what Plan § 5.2 seeks to do. See Varela v. Dynamic Brokers, Inc. (In re Dynamic Brokers,
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Inc.), 293 B.R. 489, 496 (B.A.P. 9th Cir. 2003) (“The only reference in [section 1123(b)] to

adjustments of claims is the authorization for a plan to provide for ‘the settlement or adjustment

of any claim or interest belonging to the debtor or to the estate.’ . . . It is significant that there is

no parallel authorization regarding claims against the estate.”) (emphasis in original) (quoting

section 1123(b)(3)(A)) (internal citation omitted).

                67.     The resolution of claims against the Debtors is governed by sections 1129

and 1141.

                68.     A plan may incorporate one or more negotiated settlements, but a plan is

not itself a settlement. Sending a plan to impaired creditors for a vote is not equivalent to parties

negotiating a settlement among themselves. A “settlement” is “an agreement ending a dispute or

lawsuit.” BLACK’S LAW DICTIONARY (10th ed. 2014). An “agreement” is “a mutual understanding

between two or more persons about their relative rights and duties regarding past or future

performances; a manifestation of mutual assent by two or more persons.” Id.

                69.     Approval of settlements is governed by Federal Rule of Bankruptcy

Procedure 9019, which provides that, “[o]n motion by the trustee [or chapter 11 debtor in

possession] and after notice and a hearing, the court may approve a compromise or settlement.”

But, because a “settlement” requires an agreement between the settling parties, Rule 9019 governs

only parties that have entered into an express settlement agreement; it is not a blanket provision

allowing general “settlements” to be unilaterally imposed upon broad swaths of claimants that

have no formal agreement with any party to “settle” their claims.

                70.     The decision whether to approve a settlement under Rule 9019 is left to the

sound discretion of the bankruptcy court, which “must determine whether ‘the compromise is fair,

reasonable, and in the best interest of the estate.’” Washington Mut., 442 B.R. at 338 (quoting In



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re Louise’s, Inc., 211 B.R. 798, 801 (D. Del. 1997)).10 In contrast, chapter 11 plans are subject to

the requirements of Bankruptcy Code sections 1123 and 1129. See In re Armstrong World Indus.,

Inc., 432 F.3d 507, 511 (3d Cir. 2005) (“Confirmation of a proposed Chapter 11 reorganization

plan is governed by 11 U.S.C. § 1129.”). What may be permissible under a negotiated settlement

agreement that is considered “fair, reasonable, and in the best interest of the estate” outside of the

plan context is different from what may be permissible under a plan.11

                 71.      Here, Plan § 5.2 purports to treat the Plan itself as if it were a Rule 9019

“settlement.” Further, it appears § 5.2 is not limited to settling claims belonging to the Debtors or

the estates. Thus, § 5.2 exceeds the scope of what can be settled under section 1123(b)(3)(A).

Unless § 5.2 is narrowed so that (i) it pertains only to claims the Debtors are settling against others

and (ii) it provides the Plan itself is not a settlement, the Plan does not comply with section

1123(b)(3)(A) and does not satisfy section 1129(a)(1).

VI.     The Plan Would Enjoin Setoff and Recoupment Rights in Contravention of
        Applicable Law

                 72.      The Court should deny confirmation because the Plan would enjoin setoff

and recoupment rights in contravention of applicable law.

                 73.      Plan § 10.9 would permanently enjoin “any Person who has held, holds or

may hold Claims, Interests or Causes of Action from . . . (d) asserting any right of setoff,

subrogation or recoupment of any kind on account of or in connection with or with respect to any


10
  The standard for approval of a settlement under Rule 9019 is guided by the following criteria: “(1) the
probability of success in litigation; (2) the likely difficulties in collection; (3) the complexity of the litigation
involved, and the expense, inconvenience and delay necessarily attending it; and (4) the paramount interest
of the creditors.” Myers v. Martin (In re Martin), 91 F.3d 389, 393 (3d Cir. 1996) (citations omitted).
11
  Rule 9019 cannot authorize this Court to approve something the Supreme Court held no Bankruptcy Code
provision permits. 28 U.S.C. § 2075 commands that bankruptcy rules shall not abridge substantive
rights. To the extent Rule 9019 might be read as permitting a Purdue violation, this reading would be both
incorrect and prohibited by section 2075 and Supreme Court precedent.

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such Claim or Interest, notwithstanding an indication of a Claim or Interest or otherwise that such

Holder asserts, has or intends to preserve any right of setoff pursuant to applicable law or

otherwise, against any Plan Asset, the Wind Down Entities, any Holder of a Claim or Interest or

any initial or subsequent transferee.”

               74.     The Plan Supplement provides in relevant part: “In no event shall any

Holder of a Claim be entitled to set off any Claim against any Claim, right, or Cause of Action or

FTX Recovery Trust Cause of Action of a Debtor, the FTX Recovery Trust or the Plan

Administrator, as applicable, unless such Holder has filed a Proof of Claim in the Chapter 11 Cases

by the applicable Claims Bar Date preserving such setoff and a Final Order of the Bankruptcy

Court has been entered, authorizing and approving such setoff.” Plan Supplement Ex. 2 § 3.4

               75.     Section 553(a) of the Bankruptcy Code provides that, subject to certain

exceptions, “this title does not affect any right of a creditor to offset a mutual debt owing by such

creditor to the debtor that arose before the commencement of the case under this title against a

claim of such creditor against the debtor that arose before the commencement of the case[.]” 11

U.S.C. § 553(a); see Citizens Bank of Maryland v. Strumpf, 516 U.S. 16, 18 (1995) (Section 553(a)

“provides that, with certain exceptions, whatever right of setoff otherwise exists is preserved in

bankruptcy.”). A creditor who fails to exercise setoff rights before confirmation loses them. See

In re Continental Airlines, 134 F.3d 536, 542 (3d Cir. 1998). Recoupment is an affirmative

defense, not a cause of action. See Folger Adam Security, Inc. v. DeMatteis/McGregor JV, 209

F.3d 252, 261 (3d Cir. 2000). A claim subject to recoupment “avoids the usual bankruptcy

channels and thus, in essence, is given priority over other creditors’ claims. . . . The trustee of a

bankruptcy estate takes the property subject to rights of recoupment.” In re Flagstaff Realty

Assocs., 60 F.3d 1031, 1035 (3d Cir. 1995) (internal quotation marks, citation omitted).



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               76.    The Plan should not enjoin creditors who, for example, have validly asserted

setoff claims in a proof of claim from pursuing them. Nor should the Plan enjoin creditors’

recoupment rights. Unless these changes are made to Plan § 10.9, the Plan does not satisfy

applicable law and, by extension, section 1129(a)(1) of the Bankruptcy Code.

VII.   Debtors Have Not Shown Plan Treats Smaller Creditors Fairly

               77.    The Court should deny confirmation because the Debtors have not shown

that the Plan treats all creditors fairly. Specifically, the Plan would reserve the Supplemental

Remission Fund for the largest 2% of creditors by number. D.I. 18976 at 8 (“Through this

convenience class mechanism, approximately 98% of customers by number will be eligible to

receive early cash recoveries.”) and Plan § 4.3.11-13 (Class 7A, 7B, and 7C would not share in

Supplemental Remission Fund). Under the Plan, convenience claimants in class 7 are projected

to receive 119% on their claims, whereas customers in class 5 are projected to receive up to 143%.

               78.    Section 1122 of the Bankruptcy Code provides:

               (a)      Except as provided in subsection (b) of this section, a plan
               may place a claim or an interest in a particular class only if such
               claim or interest is substantially similar to the other claims or
               interests of such class.

               (b)    A plan may designate a separate class of claims consisting
               only of every unsecured that is less than or reduced to an amount
               that the court approves as reasonable and necessary for
               administrative convenience.

               79.    “Equality of distribution among creditors is a central policy of the

Bankruptcy Code.” Begier v. IRS, 496 U.S. 53, 58 (1990). “The Bankruptcy Code furthers the

policy of ‘equality of distribution among creditors’ by requiring that a plan of reorganization

provide similar treatment to similarly situated claims.” In re Combustion Eng’g, Inc., 391 F.3d

190, 239 (3d Cir. 2004). Classification of claims “is constrained by two straight-forward rules:

Dissimilar claims may not be classified together; similar claims may be classified separately only
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for a legitimate reason.” In re Chateaugay Corp., 89 F.3d 942, 949 (2d Cir. 1996). Although

similar claims can be grouped in different classes under section 1122(a), such classification “must

be reasonable.” In re Jersey Med. Ctr., 817 F.2d 1055, 1061 (3d Cir. 1987); see John Hancock

Mut. Life Ins. Co. v. Route 37 Bus. Park Assoc. (In re Route 37 Bus. Park Assocs.), 987 F.2d 154,

158 (3d Cir. 1993) (“it seems clear that the Code was not meant to allow a debtor complete freedom

to place substantially similar claims in separate classes.”). Separate classification of substantially

similar claims “[must not] offend one’s sensibility of due process and fair play.” In re One Times

Square Assocs. Ltd. P’ship, 159 B.R. 695, 703 (Bankr. S.D.N.Y. 1993). Classification “should

not do substantial violence to any claimant’s interest.” In re LeBlanc, 622 F.2d 872, 879 (5th Cir.

1980).

                80.    Here, customers in the “convenience” classes (7A and 7B) would receive a

smaller percentage distribution (119%) than other customers (classes 5A and 5B) (up to 143%)

simply because their claims are smaller (generally $50,000 or less). The Debtors will have enough

cash on hand on the Effective Date to pay convenience claimants the same rate as other customer

claims: customers in classes 7A and 7B are projected to have about $1 billion in claims, and the

Debtors expect to have $12.6 billion cash on hand on the Plan’s effective date. Disclosure

Statement §§ 1.G & 1.H.1. Yet the Supplemental Remission Fund will be reserved only for the

largest 2% of customers by number, in classes 5A and 5B. There is no discernible difference in

the legal attributes of these customers’ claims. Further, given that the Debtors will not have

business operations going forward, reserving the Supplemental Remission Fund for the largest 2%

of customers by number does not have a business-related justification. The Debtors should

demonstrate how excluding classes 7A and 7B from the Supplemental Remission Fund is

reasonable.



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VIII.   The Plan Does Not Properly Provide for Post-Confirmation Payment of Quarterly
        Fees

               81.     The Court should deny confirmation because the Plan does not properly

 provide for the post-confirmation payment of quarterly fees.

               82.     Section 3.5 of the Plan provides:

        All fees due and payable pursuant to section 1930 of Title 28 of the United States
        Code before the Effective Date, including any applicable interest payable under
        section 3717 of Title 31 of the United States Code, shall be paid by the Debtors. On
        and after the Effective Date, to the extent applicable, the Plan Administrator shall
        pay any and all such fees and interest when due and payable (including any fraction
        thereof) until the earliest of the Chapter 11 Cases being closed, dismissed or
        converted to cases under chapter 7 of the Bankruptcy Code.

               83.     Section 5.13 of the Plan provides:

        Except as otherwise expressly provided in the Plan or the Confirmation Order, as
        of the Effective Date, all Plan Assets irrevocably shall be transferred and assigned
        to and automatically vested in the Wind Down Entities, for the benefit of Holders
        of Claims, free and clear of all Liens, Claims, charges or other encumbrances or
        interests to the extent permitted by section 363 of the Bankruptcy Code. All
        property held for Distribution pursuant to the Plan shall be held in trust for the
        benefit of the Holders of Allowed Claims and Interests and to pay the expenses of
        the administration of the Wind Down Entities. Upon the vesting of the Plan Assets
        in the Wind Down Entities, no Debtor, Consolidated Debtor or any Person or Entity
        holding a Claim or Interest shall (a) have an interest in, or any right with respect to,
        any Plan Asset except as provided by the Plan or (b) take, without the written
        consent of the Plan Administrator or order of the Court, any action with respect to
        a Wind Down Entity or a Plan Asset if such action would not have been permitted
        to be taken by such Person or Entity with respect to a Debtor or its property under
        section 362 of the Bankruptcy Code.

        Except as otherwise expressly provided in the Plan or the Confirmation Order, as
        of the Effective Date, each of the Wind Down Entities (i) shall not, and shall not be
        deemed to assume, agree to perform, pay or otherwise have any responsibilities for
        any liabilities or obligations of the Debtors or any other Person relating to or arising
        of any event or occurrence taking place on or before the Effective Date, (ii) is not,
        and shall not be, a successor to the Debtors by reason of any theory of law or equity
        or responsible for the knowledge or conduct of any Debtor prior to the Effective
        Date, and (iii) shall not have any successor or transferee liability of any kind or
        character.




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                84.     Section 1129(a)(12) of the Bankruptcy Code provides that the Court shall

confirm a plan only if “[a]ll fees payable under section 1930 of title 28, as determined by the court

at the hearing on confirmation of the plan, have been paid or the plan provides for the payment of

all such fees on the effective date of the plan.” 28 U.S.C. § 1930(a)(6) provides that “[e]xcept as

provided in subparagraph (B), in addition to the filing fee paid to the clerk, a quarterly fee shall be

paid to the United States trustee, for deposit in the Treasury, in each case under chapter 11 of title

11 other than under subchapter V for each quarter (including any fraction thereof) until the case is

converted or dismissed, whichever occurs first.”

                85.     Under 28 U.S.C. § 1930(a)(6), quarterly fees are based on “disbursements.”

As “disbursement” is not defined in the statute, it is interpreted “in accordance with its ‘ordinary,

contemporary, common meaning.’” In re Genesis Health Ventures, Inc., 402 F.3d 416, 421 (3d

Cir. 2005) (citations omitted). “‘Disburse’ is defined as ‘to expend’ or ‘to pay out.’” Id.

“Payments made on behalf of a debtor, whether made directly or indirectly through centralized

disbursing accounts, constitute that particular debtor’s disbursements for the purpose of quarterly

fee calculations under § 1930(a)(6).” Id. at 422.

                86.     Section 5.13 is objectionable to the extent it excuses the payment of

quarterly fees after the Effective Date or shelters the proceeds of unliquidated assets that are

transferred to or vested in the Wind Down Entities (including the FTX Recovery Trust) on the

Effective Date from being counted as “disbursements” under 28 U.S.C. § 1930(a)(6). For example,

section 5.13 provides that “Upon the vesting of the Plan Assets in the Wind Down Entities, no . .

. Person or Entity holding a Claim . . . shall . . . have . . . any right with respect to[] any Plan Asset

except as provided by the Plan[.]” This language could be construed to except the distribution or

payment of liquidated Plan Assets from the calculation of post-Effective Date disbursements under

28 U.S.C. § 1930(a)(6).
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               87.     The Debtors’ financial projections anticipate that asset liquidation will yield

$2 billion to $4 billion in proceeds in three years post-effective date. See D.I. 18976 Ex. C at 8.

The distribution or payment of such proceeds are “disbursements” for purposes of 28 U.S.C. §

1930(a)(6) because they will be made by or on behalf of the Debtors: proceeds of the Debtors’

assets will be distributed or paid to, inter alia, (i) administrative creditors of the Wind Down

Entities and (ii) the Debtors’ creditors pursuant to the Debtors’ Plan. If initially unmonetized

assets are later reduced to cash post-effective date, then the proceeds are disbursements when they

are ultimately expended or paid out. See, e.g., In re Quality Truck & Diesel Injection Serv., Inc.,

251 B.R. 682, 688-89 (S.D. W.Va. 2000) (reversing bankruptcy court ruling that disbursements

were limited to disbursements made pursuant to confirmed plan, and holding that disbursements

include ordinary-course disbursements post-confirmation); In re Health Diagnostic Lab., Inc.,

2023 WL 105586 at *4 (Bankr. E.D. Va. Jan. 4, 2023) (disbursements must include all distributions

made by liquidating trustee pursuant to plan to debtors’ creditors on account of their allowed

claims against debtors’ estates); In re Pettibone Corp., 244 B.R. 906, 922 (Bankr. N.D. Ill. 2000)

(despite plan not specifically providing for post-confirmation quarterly fees, such fees must be

paid on plan distributions: “Congress plainly intended the statute to cover post-confirmation plan

‘distributions[.]’”), rev’d in part by U.S. Trustee v. Pettibone Corp., 251 B.R. 335, 340 (N.D. Ill.

2000) (bankruptcy court erred in limiting quarterly fees to payments made pursuant to confirmed

plan; “The legislative history of the January 1996 amendment reveals that Congress intended the

term ‘disbursements’ to include post-confirmation disbursements and that the term should be

interpreted broadly.”); In re Wintersilks, Inc., 243 B.R. 351 (Bankr. W.D. Wis. 1999) (quarterly

fees measured on plan distributions but not on ordinary-course disbursements post-effective date),

rev’d by In re Wintersilks, Inc., 2000 WL 34236011 at *6 (W.D. Wis. June 2, 2000) (disbursements

not limited to plan distributions)); In re CSC Indus., Inc., 226 B.R. 402, 404 (Bankr. N.D. Ohio
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1998) (holding liquidating trustee responsible for paying quarterly fees despite plan and liquidating

trust agreement not specifically addressing such payments; liquidating trust “has essentially

stepped into the shoes of the original debtor and is therefore liable for any such [quarterly] fees

which may be imposed.”); In re Betwell Oil and Gas Co., 204 B.R. 817, 819 (Bankr. S.D. Fla.

1997) (stating in dicta that “to give any meaning to the post-confirmation obligation imposed by

Congress, [quarterly] fees should be calculated against disbursements made pursuant to a plan.

The example of a liquidating plan demonstrates the logic of this approach. In a liquidating plan,

it is not unusual for some assets to be liquidated post-confirmation to provide additional payments

to creditors. In such a case, payments from assets liquidated pre-confirmation would clearly be

disbursements subject to the UST quarterly fee. It makes no sense to hold that the post-

confirmation payments made from the liquidation of the remaining assets are not disbursements

just because the remaining assets were vested in a reorganized debtor or liquidating trust at

confirmation.”).

                88.      The U.S. Trustee is not seeking to double-dip on quarterly fees. The transfer

or vesting of unliquidated assets to or in a post-confirmation entity is not a “disbursement” under

28 U.S.C. § 1930(a)(6). The U.S. Trustee does not seek to count such a transfer or vesting of

unliquidated assets as a disbursement now. Rather, the disbursement will occur for purposes of

28 U.S.C. § 1930(a)(6) when the cash proceeds of such assets are expended or paid out.12


12
   To the extent In re Paragon Offshore plc, 629 B.R. 227 (Bankr. D. Del. 2021) suggested that non-cash
transfers can be included as “disbursements” for purposes of 28 U.S.C. § 1930(a)(6), it was wrong; only
payments of money are included in calculating the statutorily-mandated quarterly fee. In a more recent
case, Judge Huennekens of the Bankruptcy Court for the Eastern District of Virginia distinguished Paragon
as not only “not binding” but “also factually distinguishable” because “[t]he decision in Paragon was based
on a concern that the U.S. Trustee was ‘double-dipping.’” See In re Health Diagnostic Lab., Inc., No. 15-
32919-KRH, 2023 WL 105586, at *4 (Bankr. E.D. Va. Jan. 4, 2023). In that case, the liquidating trustee
argued that “distributions of moneys he holds in trust to the beneficiaries of the trust are not disbursements
because the beneficiaries are the equitable owners of the trust’s assets.” Id. at *3. Judge Huennekens

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                 89.     The Court should deny confirmation unless Plan § 3.5 is revised as follows:

        All fees due and payable pursuant to section 1930 of Title 28 of the United States
        Code U.S. Trustee Fees payable on or before the Effective Date, including any
        applicable interest payable under section 3717 of Title 31 of the United States Code,
        shall be paid by the Debtors in full in Cash on the Effective Date. On and after the
        Effective Date, to the extent applicable, the Plan Administrator and Wind Down
        Entities (including, for the avoidance of doubt, the FTX Recovery Trust), as
        applicable, shall pay any and all such fees and interest when due and payable U.S.
        Trustee Fees in full in Cash when due in each Chapter 11 Case for each quarter
        (including any fraction thereof) until the earliest of the such Chapter 11 Cases being
        closed, dismissed or converted to a cases under chapter 7 of the Bankruptcy Code.
        The Debtors shall file all monthly operating reports due before the Effective Date
        when they become due, using UST Form 11-MOR. After the Effective Date, the
        Plan Administrator shall file with the Bankruptcy Court a post-confirmation
        quarterly report for each Chapter 11 Case for each quarter (including any fraction
        thereof) such case is pending, using UST Form 11-PCR. Notwithstanding anything
        to the contrary in the Plan, (i) U.S. Trustee Fees are Allowed; (ii) the U.S. Trustee
        shall not be required to file any proof of claim or any other request(s) for payment
        with respect to U.S. Trustee Fees; and (iii) the U.S. Trustee shall not be treated as
        providing any release under the Plan. This section 3.5 shall govern and control to
        the extent it conflicts with or is in any way inconsistent with any other provision of
        the Plan or Plan Supplement.


IX.     The Plan Should Control if Inconsistent with the Plan Supplement

                 90.     The Court should deny confirmation because the Plan provides that the Plan

Supplement will control to the extent inconsistent with the Plan.

                 91.     Section 13.14 of the Plan provides in relevant part:

        Except as set forth in the Plan, to the extent that any provisions of the Disclosure
        Statement, the Plan Supplement or any order of the Bankruptcy Court (other than
        the Confirmation Order) referenced in the Plan (or any exhibits, appendices,
        supplements or amendments to any of the foregoing), conflicts with or is in any



rejected that argument because, “as the U.S. Trustee observe[d], quarterly fees could be virtually eliminated
by the simple expedient of transferring assets from the bankruptcy estate to a post-confirmation entity for
subsequent payment.” Id. at *4. Citing “[t]he majority of courts that have considered this issue” (which
are also cases cited by the U.S. Trustee in this objection), Judge Huennekens “conclude[d] that the
Liquidating Trustee is required to pay quarterly fees on the distributions he makes to the trust beneficiaries.”
Id. The U.S. Trustee is not aware of any published or electronically available decisions that have adopted
Paragon’s reasoning.

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       way inconsistent with any provision of the Plan, the Plan Supplement shall govern
       and control.

               92.     The Plan defines “Plan Supplement” to mean the “initial compilation of

documents and forms of documents, schedules and exhibits to the Plan . . . and additional

documents filed with the Bankruptcy Court prior to the Effective Date as amendments to the Plan

Supplement.” Plan § 2.1.146.

               93.     The Court should reverse section 13.14: the Plan should govern and control

the Plan Supplement. Creditors are voting on the Plan, not the Plan Supplement. The Debtors

filed the Plan Supplement on August 2, 2024, several weeks after votes were solicited. See D.I.

22163. Confirmation of the Plan would authorize the Debtors to amend the Plan Supplement until

the Effective Date. Allowing the Plan Supplement to control and allowing it to be amended up

until the Effective Date invites gamesmanship and mischief: the Debtors could insert provisions

pre-confirmation that are prejudicial to other parties, who would have limited (if any) time to object

or change their vote. Worse yet, the provision enables the Debtors to amend the Plan Supplement

post-confirmation to include provisions which conflict with and/or are inconsistent with the

confirmed Plan. The Plan should control to the extent inconsistent with the Plan Supplement.

 X.    The Plan Would Require Parties to File New Requests for Service to Receive Future
       Notices

               94.     The Court should deny confirmation because the Plan would require parties

in interest to file new notices of appearance in order to keep receiving notices in the cases.

               95.     Section 13.17 of the Plan provides in relevant part:

       After the Effective Date, the Debtors are authorized to limit the list of Entities
       receiving documents pursuant to Bankruptcy Rule 2002 to those Entities that have
       filed renewed requests for service after the Effective Date.

               96.     This provision does not comport with due process. “Due process requires

‘notice reasonably calculated, under all the circumstances, to apprize interested parties of the
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pendency of the action and afford them an opportunity to present their objections.’” Folger Adam

Security, 209 F.3d 252 at 265 (citations omitted).

               97.       The Debtors, Wind Down Entities, and Plan Administrator, as applicable,

should be required to serve documents on all entities whose rights are affected by such documents.

               98.       The Court should deny confirmation unless Section 13.17 is revised as

follows:

       After the Effective Date, the Debtors, Wind Down Entities (including, for the
       avoidance of doubt, the FTX Recovery Trust), or Plan Administrator, as applicable,
       are authorized to limit the list of Entities receiving documents pursuant to
       Bankruptcy Rule 2002 to (a) those Entities that have filed renewed requests for
       service after the Effective Date; and (b) those Entities whose rights are affected by
       such documents.

                                           CONCLUSION

               99.       The U.S. Trustee reserves all of his rights and objections regarding any and

all future amendments to the Plan and Plan Supplement. The U.S. Trustee reserves the rights to

comment on and object to the proposed form of confirmation order. The U.S. Trustee reserves

the rights to amend and/or to supplement this objection.




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       WHEREFORE, the U.S. Trustee respectfully asks that this Court deny confirmation and

grant such other relief as the Court deems fair and just.

 Dated: August 23, 2024                           Respectfully submitted,
        Wilmington, Delaware
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